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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
EDWYNA W. BROOKS d/b/a EW Brooks    :
Books, LLC,                         :
                                    :
     Plaintiff                      :
                                    :            19-cv-1944 (JSR)
          -v-                       :
                                    :
DAMON ANTHONY DASH and POPPINGTON   :            ORDER
LLC d/b/a DAMON DASH STUDIOS,       :
                                    :
     Defendants.                    :
------------------------------------x

JED S. RAKOFF, U.S.D.J.

  Plaintiff’s counsel sent an email to the Court this morning

saying he wished to move to hold the defendants in contempt for

registering   certain   photographs     in   violation   of   the   Court’s

injunction. See Dkt. Nos. 71 & 72. Plaintiff’s counsel further

explained that he had tried to convene a telephone conference with

defense counsel and the Court and had been informed by defense

counsel’s office that defense counsel would not be available until

December 16, 2020. While the Court’s individual rules require

counsel to make themselves available for a telephone conference

within 24 hours, the Court will make an exception in this case,

but defense counsel must make himself available for a conference

call (to be set up by plaintiff’s counsel) at 10:00 a.m. on

December 16, 2020. If defense counsel fails to comply with this

Order, the Court will go ahead and unilaterally set a briefing

schedule for the proposed contempt motion.

                                    1
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 SO ORDERED

Dated:    New York, NY
          December 14, 2020




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